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      Attorneys for TrueCar, Inc. and
   13 Individual Defendants
   14                             UNITED STATES DISTRICT COURT
   15                           CENTRAL DISTRICT OF CALIFORNIA
   16                                       WESTERN DIVISION
   17
   18 LEON D. MILBECK, on behalf of                  )   CASE NO.: 2:18-CV-02612-
      himself and all other similarly situated,      )   SVW-AGR
   19                                                )
                  Plaintiff,                         )   DEFENDANTS’ UNOPPOSED
   20                                                )   APPLICATION FOR LEAVE
            v.                                       )   TO FILE DOCUMENTS
   21                                                )   UNDER SEAL
      TRUECAR, INC. et al.,                          )
   22                                                )   Local Rule 79-5.2.2
                  Defendants.                        )
   23                                                )   Honorable Alicia G. Rosenberg
                                                     )
   24                                                )
   25
   26
   27
   28
        DEFS’ UNOPPOSED APP. FOR LEAVE TO FILE
        DOCUMENTS UNDER SEAL
        No.: 2:18-CV-02612-SVW-AGR
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    1          Pursuant to Civil Local Rule 79-5.2.2, Defendants TrueCar, Inc.
    2 (“TrueCar”), Michael Guthrie, Victor Perry, John Pierantoni, Abhishek Agrawal,
    3 Robert Buce, Christopher Claus, Steven Dietz, John Krafcik, Erin Lantz, Wesley
    4 Nichols and Ion Yadigaroglu (collectively, “Defendants”) respectfully submit this
    5 Unopposed Application for Leave to File Under Seal (i) Exhibits 1 and 3-14,
    6 which Defendants submit in support of their Memorandum of Points and
    7 Authorities in Support of Defendants’ Motion to Compel (“Memorandum”), and
    8 (ii) redacted parts of Defendants’ Memorandum that reference or draw information
    9 from such materials (together, the “Confidential Materials”).
   10                                   BASIS FOR APPLICATION
   11          On April 15, 2019, the Court issued an Order entering the parties’ Stipulated
   12 Protective Order in this action. See ECF No. 111. Pursuant to the Stipulated
   13 Protective Order, a party may designate documents that contain information
   14 protected under Fed. R. Civ. P. 26(c)(1)(G) as Confidential. Id. §§ 2.2, 2.4. The
   15 Stipulated Protective Order also states that materials designated as Confidential
   16 may only be disclosed to non-parties specifically identified in Section 7.2. Id. §
   17 7.2(a)-(i).
   18          The materials that Defendants seek to file under seal have either been
   19 designated Confidential by Lead Plaintiff Oklahoma Police Pension and
   20 Retirement Fund (“Plaintiff”) or reflect information previously designated as
   21 Confidential by Plaintiff. Plaintiff has not consented to filing these materials as
   22 part of the public record and has specifically requested that Defendants file all such
   23 materials under seal in connection with Defendants’ Memorandum. In accordance
   24 with Civil Local Rule 79-5.2.2, Defendants are filing the Confidential Materials
   25 under seal, so as to allow Plaintiff the opportunity to submit a declaration
   26 establishing that all or part of the designated materials are sealable. Defendants
   27 therefore request that the Court grant leave to file under seal the following
   28 materials:
        DEFS’ UNOPPOSED APP. FOR LEAVE TO FILE    -1-
        DOCUMENTS UNDER SEAL
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    1
               Document                             Portions to be Filed Under Seal
    2
    3          Memorandum of Points and             As highlighted in the version filed
               Authorities in Support of            herewith, portions of pages: 3-4, 8
    4          Defendants’ Motion to
               Compel
    5          Exhibit 1                            Entire Document
    6          Exhibit 3                            Entire Document
    7
               Exhibit 4                            Entire Document
    8
               Exhibit 5                            Entire Document
    9
               Exhibit 6                            Entire Document
   10
               Exhibit 7                            Entire Document
   11
               Exhibit 8                            Entire Document
   12
               Exhibit 9                            Entire Document
   13
               Exhibit 10                           Entire Document
   14
               Exhibit 11                           Entire Document
   15
               Exhibit 12                           Entire Document
   16
               Exhibit 13                           Entire Document
   17
               Exhibit 14                           Entire Document
   18
   19                                            CONCLUSION
   20          Defendants respectfully request that the Court grant their Application for
   21 Leave to File Under Seal.
   22
   23 Dated: May 6, 2019                           By: /s/ Jerome F. Birn, Jr.
   24                                              Jerome F. Birn, Jr.
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        DEFS’ UNOPPOSED APP. FOR LEAVE TO FILE          -2-
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